Case 4:06-cr-00016-ALM-KPJ           Document 601         Filed 04/02/12      Page 1 of 2 PageID #:
                                            1900



                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:06cr16
                                                  §            (Judge Schell)
 KELLEY LYNN BERRY (8)                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 28, 2012, to determine whether Defendant violated her supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Ernest

 Gonzalez.

        On October 16, 2006, Defendant was sentenced by the Honorable Richard A. Schell to fifty-

 seven (57) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On October 26, 2009, Defendant completed her period of imprisonment and

 began service of her supervised term.

        On February 22, 2012, the U.S. Probation Officer executed an Amended Petition for Warrant

 for Offender Under Supervision. The petition asserted that Defendant violated various mandatory,

 standard, and special conditions. Violation allegations one and four were dismissed by the

 Government. The petition alleged violation of the following additional mandatory condition:

 defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit

 to one drug test within fifteen days of release from imprisonment and at least two periodic tests

 thereafter, as determined by the court. The petition also alleged violation of the following standard
    Case 4:06-cr-00016-ALM-KPJ            Document 601         Filed 04/02/12      Page 2 of 2 PageID #:
                                                 1901


     condition: that defendant shall refrain from excessive use of alcohol and shall not purchase, possess,

     use, distribute, or administer any controlled substances or any paraphernalia related to any controlled

     substances, except as prescribed by a physician.

             Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     allegations. The Court recommends that Defendant’s supervised release be revoked.

                                           RECOMMENDATION

             The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of fifteen (15) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Fort Worth

.    unit.

             After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
             SIGNED this 2nd day of April, 2012.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES MAGISTRATE JUDGE
